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11

12
                                 UNITED STATES BANKRUPTCY COURT
13
                                  CENTRAL DISTRICT OF CALIFORNIA
14
                                   SAN FERNANDO VALLEY DIVISION
15
      In re:                                         Case No. 1:17-bk-12434-MT
16
                                                     Chapter 7
17    ROBIN DIMAGGIO,
18                                Debtor.
                                                     EXHIBITS TO MOTION FOR RELIEF
19
                                                     FROM THE AUTOMATIC STAY
20                                                   UNDER 11 U.S.C. § 362

21

22             Exhibits A, 1 and 2 to the “Notice of Motion and Motion for Relief From the Automatic

23   Stay Under 11 U.S.C. § 362” [Dkt. No. 21] are attached.

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             EXHIBIT A
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                                                                                                                  Español | Tiếng Việt | 한국어 |                 | հայերեն


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       Case Summary

              CASE SUMMARY                                                                                                                PRINT          NEW SEARCH

              Please make a note of the Case Number.

              Click here to access document images for this case.
              If this link fails, you may go to the Case Document Images site and search using the case number displayed on
              this page.

              Case Number: BC645027
              KRASIMIER DACHEV ET AL VS ROBIN DIMAGGIO ET AL

              Filing Date: 12/27/2016
              Case Type: Fraud (no contract) (General Jurisdiction)
              Status: Pending



              Future Hearings

              02/02/2018 at 08:33 am in Department U at 6230 Sylmar Ave., Van Nuys, CA 91401
              Conference-Final Status(JURY TRIAL SET 2/13/18ESTIMATE 5-7 DAYS)


              02/13/2018 at 09:30 am in Department U at 6230 Sylmar Ave., Van Nuys, CA 91401
              Trial(ESTIMATE 5-7 DAYS)



                                                   Documents Filed | Proceeding Information




              Parties
              AD SVILOSA - Plaintiff

              DACHEV KRASIMIR - Plaintiff/Petitioner

              DACHEV KRASIMIR - Plaintiff

              DIMAGGIO INTERNATIONAL INC. - Defendant/Respondent

              DIMAGGIO INTERNATIONAL INC. - Defendant

              DIMAGGIO ROBIN - Defendant

              DIMAGGIO ROBIN - Defendant/Respondent

              DOES 1-25 - Defendant/Respondent



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              DOES 1-25 - Defendant

              FOX J.T. ESQ. - Attorney for Deft/Respnt

              PEACE FOR YOU PEACE FOR ME - Plaintiff

              PEACE FOR YOU PEACE FOR ME - Plaintiff/Petitioner

              SPAN ROBERT STEVEN - Attorney-Plaintiff

              STEINBRECHER & SPAN LLP - Attorney for Plaintiff/Petitioner

              SVILOSA AD - Plaintiff/Petitioner

              TUSHINSKY-FOX JACQUES . - Former Attorney for Defendant


                                            Case Information | Party Information | Proceeding Information




              Documents Filed (Filing dates listed in descending order)
              09/12/2017 Declaration
              Filed by Attorney-Plaintiff

              09/12/2017 Motion (FOR TERMINATING SANCTION OF DEFAULT FOR INTENTIONAL FORGERY AND
              SPOLIATION OF EVIDENCE )
              Filed by Attorney-Plaintiff

              09/08/2017 Substitution-Attorney
              Filed by Attorney-Defendant

              07/07/2017 Order (FINAL STATUS CONFERENCE ORDERS )
              Filed by Clerk

              07/07/2017 Order (CASE MANAGEMENT CONFERENCE ORDERS )
              Filed by Clerk

              05/25/2017 Answer to First Amended Complaint
              Filed by Attorney-Defendant

              05/04/2017 Notice-Case Management Conference
              Filed by Clerk

              04/06/2017 Opposition Document
              Filed by Attorney for Plaintiff/Petitioner

              04/05/2017 Notice-Related Cases (LC0104988 )
              Filed by Attorney for Defendant/Respondent

              04/05/2017 Receipt (JURY FEES )
              Filed by Attorney for Defendant/Respondent

              04/05/2017 Statement-Case Management
              Filed by Attorney for Defendant/Respondent

              04/05/2017 Notice
              Filed by Attorney for Defendant/Respondent

              04/05/2017 Notice (OF RESCHEDULING )
              Filed by Attorney for Defendant/Respondent

              03/21/2017 Statement-Case Management
              Filed by Attorney for Plaintiff/Petitioner

              03/06/2017 Notice-Case Management Conference
              Filed by Attorney for Plaintiff/Petitioner

              02/08/2017 Motion to Strike
              Filed by Attorney for Defendant/Respondent

              01/10/2017 Notice-Case Management Conference
              Filed by Clerk

              12/29/2016 Notice-Related Cases (LC104988 )
              Filed by Attorney for Plaintiff/Petitioner

              12/27/2016 Complaint


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                                                        Case Information | Party Information | Documents Filed




                     Proceedings Held (Proceeding dates listed in descending order)
                     10/04/2017 at 08:32 am in Department NWU, Rupert A. Byrdsong, Presiding
                     Motion-Terminate Sanctions - Denied

                     07/07/2017 at 08:30 am in Department NWU, Rupert A. Byrdsong, Presiding
                     Conference-Case Management - Held-Trial date set

                     05/16/2017 at 08:30 am in Department NWT, FRANK J. JOHNSON, Presiding
                     Conference-Case Management - Reassigned-Case for all purposes

                     04/19/2017 at 08:30 am in Department 30, Barbara M. Scheper, Presiding
                     Motion to Strike - Transferred to different departmnt

                     04/05/2017 at 08:30 am in Department 30, Barbara M. Scheper, Presiding
                     Conference-Case Management - Held-Continued


                                           Case Information | Party Information | Documents Filed | Proceeding Information                            NEW SEARCH




                                                Art Showcased in
                                       Los Angeles Courthouse Jury Rooms




                                           "Flamingo Resort" by Michael Artis
                                               2009 – Amateur 3rd Place




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                                                PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is:

Lesnick Prince & Pappas LLP, 185 Pier Avenue, Suite 103, Los Angeles, CA 90405

A true and correct copy of the foregoing document entitled (specify): EXHIBITS TO MOTION FOR RELIEF
FROM THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
controlling General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink
to the document. On (date) 11/29/2017, I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
transmission at the email addresses stated below:

       Moises S Bardavid mbardavid@hotmail.com
       Matthew A Lesnick matt@lesnickprince.com, matt@ecf.inforuptcy.com;jmack@lesnickprince.com
       David Seror (TR) mtzeng@brutzkusgubner.com, C133@ecfcbis.com
       Valerie Smith claims@recoverycorp.com
       United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov

                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 11/29/2017, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

        Honorable Maureen A. Tighe                                            Robin DiMaggio
        U.S. Bankruptcy Court                                                 5737 Kanan Rd., #117
        21041 Burbank Blvd., Suite 324                                        Agoura Hills, CA 91301
        Woodland Hills, CA 91367
                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date) _______________, I served the following persons and/or entities by personal delivery, overnight mail
service, or (for those who consented in writing to such service method), by facsimile transmission and/or email
as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  11/29/2017                      Janet A. Mack                                                         /s/Janet A. Mack
  Date                            Printed Name                                                          Signature


                 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


 December 2012                                                                                               F 9013-3.1.PROOF.SERVICE
